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                                                                               IT IS SO ORDERED.
                                                                               /s/ Solomon Oliver, Jr.
                       IN THE UNITED STATES DISTRICT COURT                     United States District Judge
                        FOR THE NORTHERN DISTRICT OF OHIO                      9/13/2021
                                 EASTERN DIVISION

CRAIG CUNNINGHAM,

       Plaintiff,                                     Case No.: 21-cv-00030

v.
YUSPEH RAPPAPORT LAW LLC,
RELIABLE LEGAL MARKETING
CONSULTING, LLC, and DOES 1-20,
     Defendants.


                          AGREED STIPULATION OF DISMISSAL

       Now come the Plaintiff, CRAIG CUNNINGHAM, and the Defendants, YUSPEH

RAPPAPORT LAW LLC, RELIABLE LEGAL MARKETING CONSULTING, LLC, by and

through their respective undersigned counsel, hereby stipulate to the dismissal of this Action with

prejudice as to Plaintiff’s individual claims, and without prejudice as to the putative class claims,

pursuant to Fed. R. Civ. P. 41(a)(1)(A)(ii). Each party shall bear its own costs and attorneys’ fees.



Respectfully submitted,                                       Respectfully submitted,

CRAIG CUNNINGHAM                                              YUSPEH RAPPAPORT LAW LLC,
                                                              RELIABLE LEGAL MARKETING
                                                              COUNSULTING, LLC

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